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 1   CUAUHTEMOC ORTEGA (Bar No. 257443)
     Federal Public Defender
 2   KATE L. MORRIS (Bar No. 332159)
     (E-Mail: Kate_Morris@fd.org)
 3   Deputy Federal Public Defender
     321 East 2nd Street
 4   Los Angeles, California 90012-4202
     Telephone: (213) 894-2854
 5   Facsimile: (213) 894-0081
 6   Attorneys for Defendant
     ANDERSON SAM BONILLA ECHEGOYEN
 7
 8                            UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                  WESTERN DIVISION
11
12   UNITED STATES OF AMERICA,                      Case No. 18-CR-00876-JAK
13               Plaintiff,                         [PROPOSED] ORDER
                                                    CONTINUING PRELIMINARY
14         v.                                       REVOCATION HEARING FROM
                                                    SEPTEMBER 7, 2023 TO
15   ANDERSON SAM BONILLA                           SEPTEMBER 28, 2023
     ECHEGOYEN,
16
                 Defendant.
17
18
           GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that the
19
     preliminary revocation hearing in this matter is continued from September 7, 2023 to
20
     September 28, 2023 at ___ a.m. / p.m.
21
22
     DATED:                            By
23                                           HON. JOHN A. KRONSTADT
24                                           United States District Judge

25
     Presented by:
26
27   /s/ Kate L. Morris
     Deputy Federal Public Defender
28
